Case 1:18-ap-01044         Doc 13      Filed 04/05/19 Entered 04/05/19 12:45:13        Desc Main
                                       Document     Page 1 of 5



                             UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF RHODE ISLAND

In Re:                        )
                              )
DAVID W. WAGNER               )                        CHAPTER 7
                              )                        CASE NO. 18-10071
            Debtor            )
_____________________________ )
                              )
WESLEY HOLDING, LTD.,         )                        Adversary Case No. 18-01044
                  Plaintiff   )
                              )
v.                            )
                              )
DAVID W. WAGNER,              )
                  Defendant )
_____________________________ )

  MOTION FOR STAY OF PROCEEDINGS AND FOR EXTENSION OF DEADLINES

         Now comes the Debtor David Wagner (“Debtor/Defendant”) and requests that the

Court extend the deadlines for completion of discovery, for the filing of dispositive motions and

for the parties to file a joint pre-trial statement.

         As grounds, the Debtor states as follows:

         1.      The Defendant filed a chapter 7 case pro se on January 17, 2018.

         2.      The Plaintiff Wesley Holding, LTD. filed the within complaint on July 23,

2018 requesting that the Plaintiff’s claim be declared nondischargeable under 11 U.S.C.

§523 [AND UNDER § 727?]

         3.     There are seven (7) adversary proceedings presently pending before the Court,

including this proceeding. Four (4) seek determinations of dischargeability under 11 U.S.C.

§523 and three (3) object to the Debtor’s discharge under 11 U.S.C. §727.

         4.     One of the adversary complainants has indicated that he intends to withdraw his
Case 1:18-ap-01044        Doc 13     Filed 04/05/19 Entered 04/05/19 12:45:13              Desc Main
                                     Document     Page 2 of 5

adversary proceeding [Wesley Holding, LTD AP #18-01036 and 18-01044] and proof of claim

as his claim has been paid as a result of the liquidation of collateral.

       5.      On March 29, 2019, the chapter 7 trustee filed an adversary proceeding against

the Debtor seeking a denial of discharge under 11 U.S.C. §727.

       6.      On November 29, 2018, the Court entered pre-trial scheduling orders in the

respective adversary proceedings.

       7.      This Court has scheduled a pre-trial conference for April 18, 2019 in this

matter as well as in the other adversary proceedings.

       8.      In addition to the adversary proceedings, on or about January 10, 2019, the

Defendant objected to many proofs of claim. The objections to claims contain issues of fact

and/or law that overlap with the issues in the adversary proceedings. The Court has scheduled

a pre-trial conference on the claim objections for April 18, 2019.

       9.      On March 25, 2019, Defendant’s counsel in all of the adversary proceedings filed

a motion to withdraw. The Court has not ruled on that motion.


       10.     Plaintiff requests that this Court extend the time for the parties herein to complete

discovery and to file dispositive motions and a joint pre-trial statement, to the extent necessary.

       11.     The Debtor is seeking a ruling that the §523 actions, the individual §727 actions,

and the objections to proofs of claim be stayed until the Court rules on the pending Trustee §727

actions.

       12.     In the event that present bankruptcy counsel must conduct the adversary

proceedings, additional time will be necessary to conduct discovery.

       WHEREFORE, the Debtor requests that the Court stay this adversary proceeding and

extend the time for the parties herein to complete discovery, to file dispositive motions and a
Case 1:18-ap-01044        Doc 13     Filed 04/05/19 Entered 04/05/19 12:45:13                Desc Main
                                     Document     Page 3 of 5

file a joint pre-trial statement, and for such other and further relief as is appropriate.




                                                Debtor/Defendant
                                                David W. Wagner
                                                By his attorneys,

                                               /s/RUSSELL D. RASKIN
                                               BC #1880
                                               RASKIN & BERMAN
                                               116 East Manning Street
                                               Providence, RI 02906
                                               (401) 421-1363
                                                russell@raskinberman.com


                                               NOTICE

Within fourteen (14) days after service, if served electronically, as evidenced by the certification,
and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served by mail or other
excepted means specified, any party against whom such paper has been served, or any other party
who objects to the relief sought, shall serve and file an objection or other appropriate response to
said paper with the Bankruptcy Court Clerk's Office, 380 Westminster Street, 6th Floor,
Providence, RI 02903, (401) 626-3100. If no objection or other response is timely filed, the paper
will be deemed unopposed and will be granted unless: (1) the requested relief is forbidden by
law; (2) the requested relief is against public policy; or (3) in the opinion of the Court, the interest
of justice requires otherwise.
Case 1:18-ap-01044        Doc 13    Filed 04/05/19 Entered 04/05/19 12:45:13              Desc Main
                                    Document     Page 4 of 5




                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 5th day of April, 2019, I served by electronic filing (ECF), a
true copy of the within Motion for Stay of Proceedings and for Extension of Deadlines to the
following parties:

   •   Jeffrey C. Ankrom jeffrey.ankrom@lockelord.com;
       jeffrey.ankrom@gmail.com;elizabeth.kula@lockelord.com;Autodocket@lockelord.com
   •   Gary L. Donahue ustpregion01.pr.ecf@usdoj.gov
   •   Catherine V. Eastwood bankruptcy@kordeassoc.com, ceastwood@kordeassociates.com
   •   Joseph A. Farside joseph.farside@lockelord.com, elizabeth.kula@lockelord.com;
       laura.verdecchia@lockelord.com;Autodocket@lockelord.com
   •   Stacy B. Ferrara sferrara@ndgrb.com,
       RI11@ecfcbis.com;mlavin@ndgrb.com;sferraralaw@hotmail.com
   •   Peter J. Furness peter@rhf-lawri.com, kristin@rhf-lawri.com;kristen@rhf-lawri.com
   •   Vincent A. Indeglia vincent@indeglialaw.com, alisha@indeglialaw.com;
       Jeffrey.todd@indeglialaw.com;Jennifer.puchala@indeglialaw.com
   •   Lynda L. Laing lynn@straussfactor.com, straussfactorlaw@cs.com
   •   Elizabeth A. Lonardo elonardo@smsllaw.com, bsiter@smsllaw.com
   •   Matthew J. McGowan mmcgowan@smsllaw.com, bsiter@smsllaw.com
   •   Thomas P. Quinn tquinn@mclaughlinquinn.com, mwoodside@mclaughlinquinn.com
   •   Charles A. Pisaturo, Jr. Charlie@pisaturolaw.com
and I hereby certify that I have mailed by United States Postal Service, postage pre-paid, the
document electronically filed with the court to the following non CM/ECF participants:
American Express National Bank
c/o Becket and Lee LLP
PO Box 3001
Malvern, PA 19355-0701

Glenn Haufler
8 Walnut Street
Acton, MA 01720

Henry Howard
1600 Ponce De Leon Blvd
Suite 1106
Coral Gables, FL 33134
Case 1:18-ap-01044        Doc 13     Filed 04/05/19 Entered 04/05/19 12:45:13   Desc Main
                                     Document     Page 5 of 5
Craig R. Jalbert
Verdolino & Lowey, P.C.
124 Washington Street
Foxboro, MA 02035

Ronald W. Page
82 Crestone Way
Castle Rock, CO 80108

Stephen G Post
129 Main Street
#1516
Stony Brook, NY 11790

State of RI - Division of Taxation
RI Division of Taxation
Bankruptcy Unit
One Capitol Hill
Providence, RI 02908-5800

Craig S. Tarasoff
Liddle & Robinson, LLP
800 Third Avenue
New York, NY 10022

David W. Wagner
55 Downing Street
East Greenwich, RI 02818


/s/ESTHER RASKIN
